
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-04-383-CV

JOHNNY WILLIAMSON AND	APPELLANTS

SHAYLYN WILLIAMSON

V.



FIRST TEXAS HOMES, INC. D/B/A	APPELLEES

GALLERY CUSTOM HOMES D/B/A

FIRST TEXAS CUSTOM HOMES



----------

FROM THE 393
RD
 DISTRICT COURT 
OF DENTON COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On June 2, 2005, we notified appellants that their brief had not been filed as required by T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellants or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellants’ brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellants shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D:	CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ.



DELIVERED: June 30, 2005

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




